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                                                                          Ex. B-7
                                    Justin Strauss, et al. v. Islamic Republic of Iran, No. 1:22-cv-10823 (GBD) (SN)

                                                    (Alphabetically by Last Name of 9/11 Decedent)

                                         DECEDENT                                                Non-Economic
                         DECEDENT                      DECEDENT Last   Suffix     Economic                        TOTAL Damage
                                          Middle                                                   Damage
                         First Name                        Name        Name     Damage Amount                        Amount
                                           Name                                                    Amount

                   1.     Carolyn          Anne             Beug                                  $2,000,000.00        $2,000,000.00

                   2.       Jose          Manuel          Cardona                                 $2,000,000.00        $2,000,000.00

                   3.     Michael          Angelo        Diaz-Piedra     III                      $2,000,000.00        $2,000,000.00

                   4.     Walter          Edward          Weaver                                  $2,000,000.00        $2,000,000.00



                        TOTALS                                                                    $8,000,000.00        $8,000,000.00




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